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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


  ANTONIO L. GREEN,
                                                                         Case No. 19-cv-22444-SCOLA/VALLE
           Plaintiff,

  vs.

  FRANKLIN PINEDA et al.,

        Defendants.
  ____________________________________/

                                          NOTICE OF APPEARANCE

           PLEASE TAKE NOTICE that Zachary A. Lipshultz of the law firm Colson

  Hicks Eidson, P.A. appears as counsel for Plaintiff Antonio L. Green, and requests

  that all papers served in this case also be served on him at the email address set forth

  below.

  Dated: November 2, 2021.
                                                              Respectfully submitted,

                                                              COLSON HICKS EIDSON, P.A.
                                                              255 Alhambra Circle, Penthouse
                                                              Coral Gables, Florida 33134
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                                                              By: s/ Zachary Lipshultz______
                                                              Zachary A. Lipshultz
                                                              Florida Bar No. 123594
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                                                     Attorney for Plaintiff Antonio L. Green



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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  with the Clerk of the Court. I also certify that the foregoing document is being served

  this 2nd day November, 2021, on all counsel of record or pro se parties either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                                            By: s/ Zachary Lipshultz______
                                                            Zachary Lipshultz




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